                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  Nashville Division

 L.W., by and through her parents and next
 friends, Samantha Williams and Brian
 Williams, et al.,



                Plaintiffs,                         Civil No. 3:23-cv-00376

 and                                                Judge Richardson

 UNITED STATES OF AMERICA,                          Judge Newbern

                 Plaintiff-Intervenor

         v.

 JONATHAN SKRMETTI, in his official
 capacity as the Tennessee Attorney General
 and Reporter, et al.,



                Defendants.



PLAINTIFFS’ MOTION TO EXTEND TIME TO FILE AND EXCEED PAGE LIMIT IN
THEIR REPLY IN SUPPORT OF THEIR MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule 6.01, Plaintiffs

respectfully request a six-day extension of time to file their reply in support of their Motion for

Preliminary Injunction [ECF No. 21] (the “Preliminary Injunction Motion”). Plaintiffs also move

for leave to exceed five pages, for a total of ten pages, in their reply in support of the Preliminary

Injunction Motion. These requests are for good cause, and Plaintiffs state as follows in support of

the requests:

       Plaintiffs filed their Preliminary Injunction Motion and supporting memorandum on April

21, 2023, which were served on Defendants along with the Complaint on April 24, 2023 [ECF



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Nos. 21, 33]. On April 26, 2023, the Court issued an order stating, among other things, that,

pursuant to Local Rule 7.01(a)(3), Defendants’ response to the Preliminary Injunction Motion was

due no later than May 8, 2023 [ECF No. 36]. On May 1, 2023, Defendants filed their Motion to

Reset Briefing Schedule and Consolidate Preliminary Injunction Hearing with Trial on the Merits

[ECF No. 74]. On May 2, 2023, the Court issued an order extending Defendants’ time to respond

to the Preliminary Injunction Motion to May 15, 2023 [ECF No. 75]. On May 9, 2023, Defendants

filed their Unopposed Motion for Extension of Time to File Response to Plaintiffs’ Motion for

Preliminary Injunction [ECF No. 91], which the Court granted on May 10, 2023, extending

Defendants’ time to file their response to May 19, 2023 [ECF No. 94]. Defendants filed their

response in opposition on May 19, 2023 [ECF No. 112] (the “Opposition”), along with twenty

exhibits totaling over 1,100 pages [ECF No. 113]. Plaintiffs’ current deadline to submit a reply

brief in support of the Preliminary Injunction Motion is May 26, 2023.

       Extension of time: Plaintiffs respectfully request that the deadline to submit their reply

brief be extended by six days to June 1, 2023 (which six-day period includes the Memorial Day

weekend). An extension will not inappropriately or excessively delay the proceedings or cause

unfair prejudice as the Health Care Ban will go into effect on July 1, 2023. Further, this minimal

extension is warranted given the complexity of the issues raised in the Complaint, the Preliminary

Injunction Motion, and the Opposition, as well as the time needed to review the 1,100 pages of

exhibits Defendants attached to their Opposition. No case management order has yet been entered,

and an extension will not impact the original case management conference scheduled for June 20,

2023 [ECF No. 4].

       Extension of page limit: Plaintiffs respectfully move the Court for leave to exceed five

pages in their reply in support of the Preliminary Injunction Motion. Given the complexity of



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issues in this case, Plaintiffs ask that the Court allow them to include five additional pages in their

reply, for a total of ten pages.

        Counsel for Plaintiffs has conferred with counsel for Defendants, and Defendants have

advised that they take no position on this motion.

        Accordingly, Plaintiffs respectfully submit that their motion for a six-day extension of time

to file their reply in support of the Preliminary Injunction Motion on June 1, 2023 and to file five

additional pages, for a total of ten pages, thereto should be GRANTED.




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Dated: May 22, 2023                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2023, the undersigned filed the foregoing Plaintiffs’

Motion to Extend Time to File and Exceed Page Limit in Their Reply in Support of Their Motion

for Preliminary Injunction via this Court’s electronic filing system, which sent notice of such

filing to the following counsel of record:

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